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   8                     IN THE UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
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  11   IN RE: PORTFOLIO RECOVERY                  Case No. 3:11-md-02295-JAH-BGS
       ASSOCIATES, LLC, TELEPHONE
  12   CONSUMER PROTECTION ACT                    This document relates to:
       LITIGATION                                 All member cases
  13

  14
                                                  ORDER GRANTING NOTICE OF
  15                                              WITHDRAWAL OF COUNSEL
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  18            Upon consideration of the Notice of Withdrawal of Counsel, IT IS HEREBY
  19   ORDERED that Michael A. Geibelson is hereby withdrawn as counsel of record on
  20   behalf of Defendant Portfolio Recovery Associates, LLC. Chris Madel, Jenny
  21   Robbins, and Cassandra Merrick at MADEL PA remain counsel for Defendant
  22   Portfolio Recovery Associates, LLC.
  23            The Clerk of this Court is directed to remove Michael Geibelson from the
  24   record and from the Court’s ECF System for this case.
  25            IT IS SO ORDERED.
  26
                DATED: June 19, 2017               _______________________________
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                                                   JOHN A. HOUSTON
  28                                               United States District Judge
                                                                 ORDER GRANTING NOTICE OF
       88012666.1
                                                                  WITHDRAWAL OF COUNSEL
